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                                   1                              UNITED STATES DISTRICT COURT
                                   2                          NORTHERN DISTRICT OF CALIFORNIA
                                   3

                                   4    UNITED STATES OF AMERICA,
                                                                                      Case No. 14-cr-00175-TEH
                                   5                 Plaintiff,
                                   6           v.                                     ORDER GRANTING IN PART AND
                                                                                      DENYING IN PART PARTIES’
                                   7    PACIFIC GAS AND ELECTRIC                      MOTIONS TO FILE UNDER SEAL
                                        COMPANY,
                                   8
                                                     Defendant.
                                   9

                                  10         On January 11, 2016, Defendant Pacific Gas and Electric Company (“PG&E”) filed
                                  11   an Administrative Motion to File Under Seal its Motion in Limine No. 10. Docket No.
                                  12   239. On January 13, 2016, the Government timely opposed this Administrative Motion.
Northern District of California
 United States District Court




                                  13   Docket No. 246.
                                  14         After carefully considering the parties’ written arguments, the Court finds that the
                                  15   material PG&E seeks to file under seal is not protected by Federal Rule of Criminal
                                  16   Procedure 6(e)’s limitations regarding grand jury secrecy. Neither PG&E’s Motion in
                                  17   Limine No. 10 nor the Declaration of Kala Sherman-Presser in support thereof implicate “a
                                  18   matter occurring before the grand jury.” Fed. R. Crim. P. 6(e)(2)(B). Nevertheless, out of
                                  19   an abundance of caution, the Court GRANTS PG&E’s Administrative Motion as to
                                  20   footnote 20 of Motion in Limine No. 10 (Docket No. 237), and paragraph 5 of the
                                  21   Sherman-Presser Declaration in support thereof (submitted under seal), which both
                                  22   reference the existence of a grand jury proceeding. PG&E’s Administrative Motion is
                                  23   otherwise DENIED.
                                  24         For the same reasons, none of the material in the Government’s Response to
                                  25   PG&E’s Administrative Motion to Seal or the Declaration of Hartley M. K. West in
                                  26   support thereof is protected by Federal Rule of Criminal Procedure 6(e)’s limitations
                                  27   regarding grand jury secrecy. But again, out of an abundance of caution, the Court
                                  28   GRANTS the Government’s Motion to Seal as to page 2 line 17 (beginning with “but for”)
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                                   1   through page 2 line 19 (ending with the close quotation mark) of the Government’s
                                   2   Response (Docket No. 246), paragraph 2 of the West Declaration (Docket No. 247), and
                                   3   Exhibit 1 to the West Declaration (Docket No. 247-1), which likewise reference the
                                   4   existence of a grand jury proceeding. The Government’s Motion to Seal is otherwise
                                   5   DENIED.
                                   6         Pursuant to Criminal Local Rule 56-1(d)(3), PG&E and the Government shall re-
                                   7   file redacted versions of the aforementioned documents that comport with this Order
                                   8   within seven days of this Order.
                                   9

                                  10   IT IS SO ORDERED.
                                  11

                                  12   Dated: 01/25/16                           _____________________________________
Northern District of California
 United States District Court




                                                                                  THELTON E. HENDERSON
                                  13                                              United States District Judge
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